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          LAWS OF MISSOURI,

                     PASSED AT THE SESSION OF THE




       THIRTY-SECOND GENERAL ASSEMBLY,

              BEGUN AND HELD AT THE CITY OF JEFFERSON,




        WEDNESDAY, JANTARY 3, 1883.



                       (REGULAR SESSION.)



                            BY AUTHORITY.




                                                            24
                             JEFFERSON CITY:
                   STATE JOURNAL COMPANY, STATE PRINTERS.
                                    1883.
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  Case 8:21-cv-01736-TDC Document 95-27 Filed 09/06/23 Page 2 of 2
          76                     CRIMES AND CRI*LMINAL PROCEDURE.

          Be it enacted by the General Assembly Qf the AState of Misso.ri as follows:

               SECTION 1.    Any person or persons doing a commission business in this
          state who shall receive cattle, hogs, sheep, grain, cotton or other commodi-
          ties consigned or shipped to him or them for sale on commission, and who
          shall wilfully make a false return to his or their consignor or shipper, in an
          account of sale or sales of any such cattle, hogs, sheep, grain, cotton or
          other commodities made and rendered by such person or persons for and to
          such consignor or shipper, either as to weights or prices, shall be guilty of a
          misdemeanor and shall, on conviction, be punished by imprisonment in the
          county jail not exceeding one year, or by a fine not exceeding five hundred
          dollars nor less than two hundred dollars, or by fine not less than one hun-
          dred dollars and imprisonment in the county jail not less than three months.
               Approved April 2, 1883.




               CRIMES AND CRIMINAL PROCEDURE:                    CONCEALED WEAPONS.

          AN ACT to amend section 1274, article 2. chapter 24 of the Revised Statutes of
                   Missouri, entitled " Of Crimes and Criminal.Procedure.

                SECTION   1.   CarrYing concealed weapon. etc., penalty for increased.

          Be it enacted by the General -Assembly of the State of Missouri, as follow's:

              SECTION 1. T1*hat section 1274 of the Revised Statutes of Missouri he
          and the same is hereby amended by inserting the word - twenty " before the
          word " five " in the sixteenth line of said section, and by striking out the
          word " one " in the same line and iiiserting in lieu thereof the word "two,"
          and by striking out the word " three " in the seventeenth line of said section
          and inserting in lieu thereof the word " six," so that said section, as
          amended, shall read as follows: Section 1274. If any person shall carry
          concealed. upon or about his person., any deadly or dangerous weapon, or
          shall go into any church or place where people have assembled for religious
          worship, or into any school room or place where people are assembled for
          educational, literary or social purposes, or to any election precinct on any
          election day, or into any court room during the sitting of court, or into any
          other public assemblage of persons met for any lawful purpose other than
          for militia drill or meetings called under the militia law of this state, having
          upon or about his person any kind of fire arms, bowie knife, dirk. dagger,
          slung-shot or other deadly weapon, or shall in the presence of one or more
          persons exhibit any such weapon in a rude, angry or threatening manner, or
          shall have or carry any such weapon upon or about his person when intoxi-
          cated or under the influence of intoxicating drinks, or shall directly or
          indirectly sell or deliver, loan or barter to any minor any such weapon, with-
          out the consent of the parent or guardian of such minor, he shall, upon con-
          viction, be punished by a fine of not less than twenty-five nor more than two
          hundred dollars, or by imprisonment in the county jail not exceeding six
          months, or by both such fine and imprisonment.
                Approved March 5. 1883.
